(Post.3/26/13)            Case 4:12-cr-00306-KGB Document 344 Filed 07/18/13 Page FILED
                                                                                   1DISTRICT
                                                                                U.S. of 1 COURT
                                                                                                       EASTERN DISTRICT ARKANSAS


                                           IN THE UNITED STATES DISTRICT COURT
                                              EASTERN DISTRICT OF ARKANSAS JAMES
                                                    WESTERN DIVISION         By:_----..~~-4+---\.,~,.,...,..,,..,.

                 UNITED STATES OF AMERICA                                                                      PLAINTIFF

                         vs.                             NO.     4'.l~-30(o-/(bf5
                                                                                                            DEFENDANT


                                       WAIVER OF APPEARANCE FOR ARRAIGNMENT
                                          AND ENTRY OF PLEA OF NOT GUlLTY
                                (Pursuant to Rules 10 and 43 of the Federal Rules of Criminal Procedure)

                         NOW COMES Defendant in the above-referenced case who, along with his/her undersigned attorney,
                 hereby acknowledges the following:

                 1)      Defendant has received a copy of the indictment, superseding indictment or misdemeanor
                         information in this case. Defendant understands the nature and substance of the charges contained
                         therein, the maximum penalties applicable thereto, and his/her Constitutional rights, after being
                         advised of all of the above by his/her attorney.

                 2)       Defendant understands he/she has the right to appear personally with his/her attorney before a Judge
                        · for arraignment in open court on this accusation. Defendant further understands that, absent the
                          present waiver, he/she will be so arraigned in open court.

                 Defendant, having conferred with his/her attorney in this regard, hereby waives personal appearance with
                 his/her attorney at the arraignment ofthi~se and the reading of the indictment, superseding indictment or
                 information, and by this instrument tenders a plea of "not guilty." The defendant understands that entry by
                 the Court of said plea for defendant will conclude the arraignment in this case for all purposes.


                           "= }fo, 13
                         Date

                          7- ~~-r~
                         Date


                                                          ORDER OF COURT
                          The defendant's request to waive appearance at the arraignment is hereby APPROVED and a
                          plea of not guilty is entered for the defendant effective this date.

                          The defendant's request to waive appearan e at the arraignment ·


                          ~"      \   I 2.013




                 cc:     All Counsel of Record
                         U.S. Probation Office
                         U.S. Marshals Service
                         Presiding Magistrate Judge
